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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

 NIKE, INC.,

        Plaintiff,
                                                          Case No. 2:23-cv-09346-AB (PVCx)
                v.


 SKECHERS U.S.A., INC.,

        Defendant.


                     [PROPOSED] ORDER FOR ELECTRONIC DISCOVERY

        The Court ORDERS as follows:

        1.      This Order supplements all other discovery rules and orders. It streamlines

 Electronically Stored Information (“ESI”) production to promote a “just, speedy, and inexpensive

 determination” of this action, as required by Federal Rule of Civil Procedure 1.

        2.      This Order may be modified for good cause. If the parties cannot resolve their

 disagreements regarding any such proposed modifications, the parties shall submit the matter to

 the Court.

        3.      Costs will be shifted for disproportionate ESI production requests pursuant to
 Federal Rule of Civil Procedure 26. Likewise, a party’s nonresponsive or dilatory discovery tactics

 will be cost-shifting considerations.

        4.      A party’s meaningful compliance with this Order and efforts to promote efficiency

 and reduce costs will be considered in cost-shifting determinations.

        5.      General ESI production requests under Federal Rules of Civil Procedure 34 and 45

 shall not include e-mail or other forms of electronic correspondence (collectively “e-mail”). To

 obtain e-mail, parties must propound specific e-mail production requests as described herein.

        6.      E-mail production requests shall only be propounded for specific issues, rather than

 general discovery of a product or business.

        7.      E-mail production requests shall be phased to occur after the parties have
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 exchanged initial disclosures, a specific listing of likely e-mail custodians, initial infringement

 contentions, initial invalidity contentions, and preliminary information relevant to damages. The

 exchange of this information shall occur at the time required under the Federal Rules of Civil

 Procedure, Local Rules, or by order of the Court.

        8.      E-mail production requests shall identify the custodian, search terms, and time

 frame. The parties shall cooperate to identify the proper custodians, proper search terms and proper

 timeframe. The court may allow additional e-mail discovery upon a showing of good cause.

        9.      Each requesting party shall limit its e-mail production requests to a total of five (5)

 custodians per producing party for all such requests. The parties may jointly agree to modify this

 limit without the Court’s leave. The Court shall consider contested requests for up to five (5)

 additional custodians per producing party, upon showing a distinct need based on the size,

 complexity, and issues of this specific case.

        10.     Each requesting party shall limit its e-mail production requests to a total of five (5)

 search terms per custodian per party. The parties may jointly agree to modify this limit without the

 Court’s leave. The Court shall consider contested requests for up to five (5) additional search terms

 per custodian, upon showing a distinct need based on the size, complexity, and issues of this

 specific case. The search terms shall be narrowly tailored to particular issues. Indiscriminate terms,

 such as the producing company’s name or its product name, are inappropriate unless combined

 with narrowing search criteria that sufficiently reduce the risk of overproduction. A conjunctive

 combination of multiple words or phrases (e.g., “computer” and “system”) narrows the search and

 shall count as a single search term. A disjunctive combination of multiple words or phrases (e.g.,

 “computer” or “system”) broadens the search, and thus each word or phrase shall count as a

 separate search term unless they are variants of the same word or phrase. Use of narrowing search

 criteria (e.g., “and,” “but not,” “w/x”) is encouraged to limit the production and shall be considered

 when determining whether to shift costs for disproportionate discovery.

        11.     All document production shall be in electronic format unless otherwise agreed to

 in advance by the parties.
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       12.   The following parameters shall apply to ESI production:

                a. General Document Image Format. Each electronic document shall be

                    produced in a single-page 300 dpi image file format, with each page bearing

                    a unique production number and named with the unique production number

                    followed by the appropriate file extension. Color documents shall be

                    produced as JPEG format images. All other documents may be produced as

                    Tagged Image (“TIFF”) format images. Load files shall be provided to

                    indicate the location and unitization of the TIFF and/or JPEG files.

                b. Native Files. Spreadsheets (e.g., MS Excel, Google Sheets) and delimited
                    text files (e.g. comma-separated value (.csv) files and tab-separated value

                    (.tsv) files) shall be produced in their native file format. TIFF or JPEG

                    images need not be produced for these formats of files unless the files have

                    been redacted, in which instance such files shall be produced in TIFF with

                    OCR Text Files. If producing in native format, each document shall include

                    a single unique production number for the document preceding the native

                    file name. A TIFF placeholder indicating that a document was provided in

                    native format should accompany the production. If a file has been redacted,

                    TIFF images and OCR text of the redacted document will suffice in lieu of

                    a native file and extracted text. If good cause exists to request production of

                    files in native format, other than those specifically set forth in this provision,

                    the party may request such production and provide an explanation of the

                    need for native file review, which request shall not unreasonably be denied.

                c. Text-Searchable Documents. ESI shall be produced in text-searchable

                    format to the extent maintained in that form or to the extent reasonably

                    possible.

                d. Footer. Each document image must be assigned a unique Bates number that

                    is sequential within the production sets.
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                e. Confidentiality Designation. Each image will be stamped with the

                   appropriate confidentiality designations (if any) in accordance with the

                   Protective Order in this matter. Each document produced in native format

                   will have its confidentiality designation identified in the filename of the

                   native file.

                f. Unique Documents. The parties shall attempt to de-duplicate ESI to avoid

                   substantially duplicative productions.       No party shall remove any

                   attachment to any email, regardless of whether the attachment is duplicative

                   of any other document. The parties may de-duplicate emails that are

                   identical. Custodian metadata for a given document shall reflect any

                   Custodian of any document removed as a duplicate of that document

                g. Metadata. In addition to single page images, productions shall include (1)
                   an ASCII delimited metadata file (.txt., .dat, or .csv) and (b) an image load

                   file that can be loaded into commercially acceptable production software

                   (e.g., Relativity or Concordance). The following fields, if reasonably

                   accessible and not subject to a justified and proper claim of privilege, shall

                   appear in and the load file:

                       i. BEGBATES: Beginning Bates number as stamped on the

                           production image

                       ii. ENDBATES: Ending Bates number as stamped on the production

                           image

                      iii. BEGATTACH: First production Bates number of the first document

                           in a family

                      iv. ENDATTACH: Last production Bates number of the last document

                           in a family

                       v. CONFIDENTIALITY: Any designation of the document under the

                           Protective Order governing this Action
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                     vi. TIME ZONE: The time zone under which the document was

                         processed

                     vii. MD5HASH: The Md5Hash value of the document

                    viii. CUSTODIAN: Individual from whom the documents originated and

                         all Individual(s) whose documents de-duplicated out (De-Duped

                         Custodian)

                     ix. AUTHOR: Any value populated in the Author field of the document

                         properties

                      x. FILENAME: Filename of an electronic document

                     xi. FILE EXTENSION: The file extension of the document.

                     xii. DATECREATED: Date the document was created (format:

                         MM/DD/YYYY or YYYY/MM/DD)

                    xiii. DATEMODIFIED: Date the document was last altered or saved

                         (format: MM/DD/YYYY or YYYY/MM/DD)

                    xiv. For e-mails:

                            1. SUBJECT: Subject line of e-mail

                            2. DATESENT:         Date     e-mail    was     sent     (format:

                                DD/MM/YYYY or YYYY/MM/DD)

                            3. TO: All recipients in the “To” line of the e-mail

                            4. FROM: The sender of the e-mail

                            5. CC: All recipients in the “CC” line of the e-mail

                            6. BCC: All recipients in the “BCC” line of the e-mail

                     xv. The field names above may vary depending on a party’s use of

                         commercially acceptable production software. All other metadata

                         shall be preserved for the duration of this Action but need not be

                         produced absent a specific request based upon specific facts and a

                         showing of good cause, and further subject to the producing party’s
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                                claim of undue burden or cost.

                    h. Other Actions. The provisions above govern the form of production of

                        documents in this Action, but does not govern the form of production of

                        documents that were produced in any other action that are re-produced (with

                        original Bates numbers intact, regardless of whether a party also applies

                        additional Bates numbers) in this Action, provided that such documents are

                        produced in accordance with the form of production governing the other

                        action. Nothing in this stipulation alters or supersedes any protective order

                        in place in any other action.

        13.     The mere production of ESI in a litigation as part of a mass production shall not

 itself constitute a waiver for any purpose.
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 SO STIPULATED AND AGREED.

 Dated: March 12, 2024


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 SO ORDERED.



 Dated: ________________       _________________________________
                               HON. PEDRO V. CASTILLO
                               United States Magistrate Judge
